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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


 United States of America, et al.,

                                Plaintiffs,           Case No. 1:20-cv-03010-APM

 v.                                                   HON. AMIT P. MEHTA
 Google LLC,

                                Defendant.




 State of Colorado, et al.,

                                Plaintiffs,           Case No. 1:20-cv-03715-APM

 v.                                                   HON. AMIT P. MEHTA
 Google LLC,

                                Defendant.



                                     JOINT STATUS REPORT

       In accordance with the Court’s Minute Order dated August 31, 2021, the parties in United

States v. Google LLC and State of Colorado v. Google LLC submit the following Joint Status

Report summarizing the state of discovery and identifying any issues between the parties, and

the parties’ respective positions, that will be raised at the status hearing scheduled for October

28, 2021.

I.     Case No. 1:20-cv-03010

       A.      Google’s Discovery of Plaintiffs

       A summary of Google’s First Set of Requests for Production and prior document
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productions made by Plaintiffs are set forth in the parties’ earlier Joint Status Reports, including

their reports dated February 23 (ECF No. 111), March 28 (ECF No. 124), April 23 (ECF No.

131), May 24 (ECF No. 135), June 24 (ECF No. 149), July 27 (ECF No. 165), August 27 (ECF

No. 191), and September 24 (ECF No. 223). On October 8, Plaintiffs produced to Google

correspondence with subpoena recipients and post-complaint, non-ministerial correspondence

related to the claims and defenses in these litigations with third parties listed on any party’s

initial disclosures.

        B.      Plaintiffs’ Discovery of Google

        A summary of Plaintiffs’ First through Sixth Sets of Requests for Production and the

document productions previously made by Google are set forth in the parties’ earlier Joint Status

Reports, including their reports dated February 23 (ECF No. 111), March 28 (ECF No. 124),

April 23 (ECF No. 131), May 24 (ECF No. 135), June 24 (ECF No. 149), July 27 (ECF No.

165), August 27 (ECF No. 191), and September 24 (ECF No. 223). Google produced additional

documents on October 5, 7, 17, 18, and 23, and Google produced additional data on September

28 and October 4, 7, 15, 18, and 21. On September 30, Google produced to Plaintiffs its outside

counsel correspondence with third-party subpoena recipients. Plaintiffs served their Seventh Set

of Requests for Production on September 30, and Google’s deadline to serve responses and

objections is November 1.

        On September 30, Plaintiffs requested that Google supplement its production of certain

categories of documents described in the Second Set of Requests for Production. After

conferring about the request for supplementation, the parties were unable to resolve a dispute

relating to the timing of Google’s production in response to Plaintiffs’ request for

supplementation of Second RFP Request No. 25. Plaintiffs’ position on that issue is set forth in

Section III below, and Google’s position is set forth in Section IV.

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       Plaintiffs completed one deposition of a Google employee in August, five depositions of

current or former Google employees in September and have completed four thus far in October.

The parties have scheduled twelve depositions of current or former Google employees for the

coming weeks and are in the process of scheduling two more.

       C.      The Parties’ Discovery of Third-Parties

       A summary of the third-party discovery requests previously issued by the parties is set

forth in the parties’ earlier Joint Status Reports, including their reports dated February 23 (ECF

No. 111), March 28 (ECF No. 124), April 23 (ECF No. 131), May 24 (ECF No. 135), June 24

(ECF No. 149), July 27 (ECF No. 165), August 27 (ECF No. 191), and September 24 (ECF No.

223). The parties have issued document subpoenas to approximately 90 third parties in total. The

parties anticipate that they will continue to issue additional document subpoenas as discovery

progresses. The parties have scheduled a deposition of a third-party witness for October 29 and

anticipate that they will continue to issue additional deposition subpoenas as discovery

progresses.

II.    Case No. 1:20-cv-03715

       A.      Google’s Discovery of Plaintiff States

       A summary of Google’s First Set of Requests for Production and the document

productions made by Plaintiffs to date are set forth in the parties’ earlier Joint Status Reports,

including their reports dated March 28 (ECF No. 124), April 23 (ECF No. 131), May 24 (ECF

No. 135), June 24 (ECF No. 149), July 27 (ECF No. 165), August 27 (ECF No. 191), and

September 24 (ECF No. 223).

       B.      Plaintiff States’ Discovery of Google

       A summary of Plaintiff States’ First Set of Requests for Production and the document



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productions previously made by Google are set forth in the parties’ earlier Joint Status Reports,

including their reports dated March 28 (ECF No. 124), April 23 (ECF No. 131), May 24 (ECF

No. 135), June 24 (ECF No. 149), July 27 (ECF No. 165), August 27 (ECF No. 191), and

September 24 (ECF No. 223). Google has continued to produce to Plaintiff States the documents

and data produced to the U.S. Department of Justice and its co-plaintiffs in Case No. 1:20-cv-

03010 in addition to producing documents and data in response to Plaintiff States’ First Set of

Requests for Production. Plaintiff States served their Second Set of Requests for Production on

September 23, and Google served its responses and objections on October 25.

       A summary of the depositions of current and former Google employees that have been

recently conducted or noticed by Plaintiffs is set forth above in Section I.B. Five of the

completed or scheduled depositions of current or former Google employees referenced in Section

I.B were noticed by Plaintiff States. In accordance with the Scheduling and Case Management

Order, Plaintiff States have coordinated with the U.S. Department of Justice and its co-plaintiffs

in Case No. 1:20-cv-03010 in the noticing and scheduling of all depositions.

       C.      The Parties’ Discovery of Third Parties

       The parties have issued document subpoenas to approximately 90 third parties. All third

parties that have received a subpoena from Plaintiff States have received a cross-subpoena from

Google. Similarly, all third parties that have received a subpoena from Google have received a

cross-subpoena from Plaintiff States. Both parties anticipate that they will continue to issue

additional document subpoenas as discovery progresses. A summary of the third-party

depositions that have been recently scheduled is set forth above in Section I.C. The parties

anticipate that they will continue to issue additional deposition subpoenas as discovery

progresses.



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III.    U.S. Plaintiffs’ Position Statement

        Nearly a month after Plaintiffs requested Google supplement its production of certain

agreements and related materials, Google has not produced a single document. Google’s endemic

delay jeopardizes the upcoming November and December depositions of Google and third-party

witnesses and threatens the overall discovery schedule. To keep discovery moving forward, the

Court should order Google to produce: (1) all executed agreements by October 29, (2) refresh

documents of custodian Patrick Brady by October 29 (in advance of his November 4 deposition),

(3) refresh documents for all noticed deponents on a rolling basis with a complete production by

November 5, and (4) refresh documents for all remaining custodians on rolling basis with a

complete production by November 15.

        On September 30, 2021, Plaintiffs requested that Google supplement six categories of

documents no later than October 29. Letter from K. Dintzer to J. Schmidtlein dated September

30, 2021. Plaintiffs and Google continue to meet and confer or have otherwise reached

agreement on five of the six categories, some of which were simple go-get requests. The parties

were unable to reach agreement on one category of documents that is the focus of this dispute—

Plaintiffs’ Second Requests for Production, Request No. 25 (RFP 25). Plaintiffs requested a

refresh of Google’s agreements or licenses and related documents as set forth in RFP 25, which

includes, for example, Google’s Android-related licenses and the revenue share agreements at

the heart of this case.

        Despite requesting an immediate meet and confer, Google did not make itself available to

discuss until a week later on October 8. To reduce the burden on Google, Plaintiffs explained

that they were not seeking any new custodians or search strings and that Google should simply




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refresh the same custodians using the three search strings originally applied to the request. 1

Google agreed, but could not provide an estimated production schedule at that time. Plaintiffs

requested that Google produce any executed agreements in the short-term while custodial files

were being collected and reviewed. On October 18, Google agreed to produce only certain

prioritized agreements with manufacturers and carriers by October 30, a full month after

Plaintiffs’ request. Letter from F. Rubinstein to A. Cohen dated October 18, 2021. To date,

however, Google has not produced a single executed agreement to the refresh request, even

though some of these agreements were executed months ago and should have been produced to

Plaintiffs at that time.

        Google seeks to shift its failure to timely supplement under the Federal Rules to

Plaintiffs, asserting that Plaintiffs should have made their supplementation request earlier in the

discovery period. Google is mistaken and misguided.

        First, the Federal Rules require Google to supplement its production in response to RFP

25, regardless of Plaintiffs’ request. Supplemental discovery is governed by Rule 26(e), which

provides in relevant Part:

                 In General. A party who . . . has responded to . . . request for
                 production . . .—must supplement or correct its disclosure or
                 response: (A) in a timely manner if the party learns that in some
                 material respect the disclosure or response is incomplete or
                 incorrect, and if the additional or corrective information has not
                 otherwise been made known to the other parties during the
                 discovery process or in writing.

Fed. R. Civ. P. 26(e) (emphasis added). This is particularly true for relevant documents that are

only known to Google— i.e., confidential, executed agreements and related communications that



1
  On October 18 Google asserted that collections involving more than 100 custodians can take weeks to process, but
clarified a few days later that Plaintiffs’ refresh request involves approximately 60custodians and three search
strings. See Letters from F. Rubinstein to A. Cohen dated October 18 and 21, 2021.

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go to the crux of Plaintiffs’ complaint. Google’s RFP productions would be materially

incomplete without supplementation of these documents, and thus supplementation in response

of RFP 25 is mandatory under Federal Rule 26(e). As between the parties, only Google knows

when during the discovery period Google negotiated and executed new distribution agreements

with its partners. Accordingly, the Court should conclude (1) that Google had a duty –

independent of any demand from the Plaintiffs – to disclose newly executed agreements

responsive to Plaintiffs’ RFP, and (2) that Google failed to meet these obligations.

         Second, Plaintiffs may review Google’s production and request supplementation at the

Plaintiffs’ discretion. To reduce the burden on Google, Plaintiffs have reviewed Google’s

production to determine which RFP responses need to be refreshed, how often, and to what

scope.2 To efficiently depose Google witnesses in November and December, Plaintiffs sent a

tailored refresh request.3 Google offers no bases as to why it could not collect and produce

documents responsive to these specific requests in a timely fashion, or even provide estimated

production schedules from which the parties could negotiate and plan. Google’s efforts, instead,

have been directed to delay and confusion – the hallmark of its efforts throughout discovery.

         Although Google decries Plaintiffs’ requested production timelines as arbitrary and

unjustified, the problem lies with Google’s meandering pace – one not realistic in the limited

months of discovery remaining. Indeed, on October 25, nearly a month after Google received the

supplementation request, Google advised that it had not even finished collecting and processing



2
 Although Google represented to Plaintiffs and the Court that it had substantially completed production of the initial
set in August 2020, Google has continued to produce tens of thousands of documents since then; in fact, Google
produced approximately four thousand documents responsive to Plaintiffs’ Second RFP just days ago.
3
 When the parties met and conferred on the tailored refresh request, Google requested that Plaintiffs serve a more
comprehensive refresh request in the near future. To help ease the burden on Google, Plaintiffs obliged and served a
second supplementation request this afternoon. That request, however, is not targeted at the depositions noticed in
2021.

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the requested documents; Google, therefore, claimed it could only provide rough estimated

review and production schedules. Email from G. Safty to A. Cohen dated October 25, 2021. On

the morning of this filing, Google informed Plaintiffs that it does not have hit counts available,

cannot predict precisely how long it will take to finish collecting and processing the data, and

can only estimate based on historical averages that it will produce relevant documents between

mid-November and Mid-December. Email from G. Safty to A. Cohen dated October 26, 2021.

This is clearly unacceptable. Google’s delay is unreasonable, unnecessary, and unsuitable under

the current discovery schedule.

       For the aforementioned reasons, the Court should order Google to (1) produce all

executed agreements by October 29, (2) refresh its production of custodian Patrick Brady by

October 29 (in advance of his November 4 deposition), (3) refresh its production for all noticed

deponents on a rolling basis with a complete production by November 5, and (4) refresh its

production for all remaining custodians on rolling basis with a complete production by

November 15.

IV.    Google’s Position Statement

       Two weeks ago, the DOJ Plaintiffs asked Google to “refresh” its production of

documents responsive to a particular request by applying complex search strings to all of the

documents created in the last several months by more than 60 custodians. In the interest of

avoiding an unnecessary dispute, Google agreed to perform the newly requested searches and

committed the resources necessary to produce the documents as soon as practicable, specifically

by beginning production in mid-November. Google explained, however, that it is not possible to

complete production of the newly requested documents on the DOJ Plaintiffs’ unreasonable and

arbitrary timeline because of the machine time required to harvest and process the ESI generated

by dozens of custodians. Even though the DOJ Plaintiffs are solely responsible for the unusual

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timing and unreasonable scope of their refresh request, they insisted on burdening the Court with

a demand that simply cannot be reconciled with the collection and processing times involved in a

large-scale ESI collection. The DOJ Plaintiffs’ demands are unreasonable, and they are not

entitled to any relief.

         A.       Factual and Procedural Background

         Throughout the first few months of 2021, the parties negotiated and litigated the

parameters of Google’s obligations in responding to the DOJ Plaintiffs’ Second Requests for

Production (the “Second RFPs”). That process culminated in Google applying dozens of search

strings to the files of more than 100 custodians. In each instance, Google collected potentially

responsive custodial documents that were created through at least the end of January 2021.

Although the parties exchanged correspondence about the Second RFPs on a near-daily basis last

spring, the DOJ Plaintiffs never indicated that they would ask Google to “refresh” Second RFP

No. 25 or any particular custodial collections in order to capture documents created after the

service of the Second RFPs.

         On September 30, the DOJ Plaintiffs asked Google to “supplement its production” of

several categories of documents purportedly encompassed by the Second RFPs, including “all

agreements or licenses, and related communications or documents, as set forth in Second RFP

Request No. 25.” Sept. 30, 2021 Ltr. from K. Dintzer.4 On a meet and confer on October 8,

Google requested details on which document sets the DOJ Plaintiffs believed should be


4
 Second RFP No. 25 provides: “From January 1, 2007, to the present, produce all documents addressing or
discussing the following agreements or licenses: a. Android Compatibility Commitments (ACC); b. Anti-
Fragmentation Agreements (AFA); c. Google Assistant Distribution Agreements (GADA); d. Google Automotive
Services (GAS); e. Google Mobile Services (GMS); f. Google Play Services (GPS); g. Mobile Application
Distribution Agreements (MADA); h. Mobile Incentive Agreements (MIA); i. Revenue Share Agreements (RSA).
For clarity, this includes: i. The agreements themselves, exchanged drafts of the agreements, discussions of drafts, or
improvements of the agreements; ii. Communications with third parties about the agreements; and iii. Documents
addressing or discussing the agreements’ purpose, effect, negotiation, implementation, operation, function,
enforcement, requirements, restrictions, changes over time, revenue, cost, and value.”

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refreshed. On October 12, the DOJ Plaintiffs stated for the first time that they expect Google to

supplement its prior productions in response to Second RFP No. 25 by applying three complex

search strings to the files of more than 60 custodians to capture potentially responsive documents

created through September 2021. See Oct. 12, 2021 Email from A. Cohen. In other words, the

DOJ Plaintiffs’ requested refresh is not limited to the targeted set of contracts executed or

negotiated since Google’s sweeping collections and productions earlier this year, but rather also

encompasses emails and other electronic records that must be collected from custodial files.

       Although the request was unwarranted and overbroad, Google did not spend time serving

objections, generating hit reports, or negotiating more reasonable parameters. Instead, in the

interest of moving forward as quickly as possible, Google accepted the DOJ Plaintiffs’ proposed

refresh of Second RFP No. 25 and kicked off the time-consuming process of harvesting and

processing the dozens of custodial files. As Google has previously explained, that process is

especially time intensive because of the complexity of the search terms and the number of

custodians at issue. See, e.g., Feb. 23, 2021 JSR (ECF No. 111) at 14 (noting that the “processing

step is time consuming” and “is not a process that can be expedited by adding attorneys or other

legal personnel”). Google therefore informed the DOJ Plaintiffs last week that it will “produce

the documents expeditiously” and “prioritize documents collected from custodians who have

been noticed for deposition,” but there is “no conceivable way” to meet the DOJ Plaintiffs’

demand for near-immediate production of the documents. Oct. 21, 2021 Ltr. from F. Rubinstein.

       Although Google does not yet know how many documents will be retrieved by the

searches because the collection and processing is ongoing, it will devote the resources necessary

to produce the documents as soon as practicable. Based on historical processing and review

times, Google anticipates that it will be able to produce the custodial documents requested by the



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DOJ Plaintiffs in connection with the refresh of Second RFP No. 25 on a rolling basis between

mid-November and mid-December.

       B.      Any Purported Issue with the Timing of the Refresh Is Entirely of the DOJ
               Plaintiffs’ Own Making

       As the foregoing makes clear, Google has acted as reasonably and expeditiously as

possible under the circumstances. The DOJ Plaintiffs knew that Google’s custodial collections

occurred in early 2021, shortly after the DOJ Plaintiffs issued their First and Second RFPs. If the

DOJ Plaintiffs believed that it was important to have a “refresh” production in hand by the end of

October, then they could have made the request over the summer (or in the preceding six months,

during the parties’ Court-ordered conferrals over ESI collection), so that the parties could have

negotiated appropriate parameters and Google could have initiated the time-consuming

collection process.

       The DOJ Plaintiffs likewise are solely responsible for the scope of their refresh request,

which is the principal reason that the production cannot be completed within a couple of weeks.

The DOJ Plaintiffs could have limited their refresh request to documents that can be manually

retrieved, such as agreements proposed to or executed by particular counterparties since early

2021. Instead, the DOJ Plaintiffs requested for the first time on October 12 that Google collect

not only those agreements, but also emails and other documents from more than 60 custodians.

Having dictated the timing and scope of their request, the DOJ Plaintiffs cannot be heard to

complain about the fact that it is not feasible to collect, review, and produce the documents of

dozens of custodians in a matter of two or three weeks.

       The DOJ Plaintiffs’ production timelines also are as arbitrary as they are unreasonable.

Although the DOJ Plaintiffs presumably will hypothesize that they might want to reference the

requested documents at depositions occurring in November, they control the timing and


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sequence of the depositions of Google employees. Again, the DOJ Plaintiffs could have

anticipated and resolved this purported issue by raising it months ago.

       C.      Google Was Not Obligated to Refresh Its Production

       In correspondence about this issue, the DOJ Plaintiffs have asserted that “Google’s

obligation to supplement under Rule 26 is ongoing and does not require Plaintiffs to notify it via

a letter.” Oct. 19, 2021 Email from A. Cohen. Rule 26(e)(1) provides, among other things, that a

party must “supplement or correct its disclosure or response … in a timely manner if the party

learns that in some material respect the disclosure or response is incomplete or incorrect, and if

the additional or corrective information has not otherwise been made known to the other parties

during the discovery process or in writing.” Contrary to the DOJ Plaintiffs’ assertion, however,

“nothing in that rule imposes a never ending obligation to produce documents continuously as

they are created.” Dong Ah Tire & Rubber Co. v. Glasforms, Inc., 2008 WL 4786671, at *2

(N.D. Cal. Oct. 29, 2008). From a practical perspective, “To say that the duty to supplement

covers documents generated after that date would render meaningless any delineated time period

for production.” Id. And in a literal sense, a response to a request for production is not rendered

“inaccurate” or “incomplete” by the subsequent creation of new documents that may be

responsive to the request. See, e.g., Hnot v. Willis Grp. Holdings, Ltd., 2006 WL 2381869, at *2

n.4, *5 (S.D.N.Y. Aug. 17, 2006) (“[A] complete and accurate set of computer data for the

period ending December 31, 2001 is not rendered incomplete or incorrect for purposes of Rule

26(e) simply by virtue of the fact that defendants also possess data pertaining to the entirely

different time period beginning January 1, 2002.”).

       Simply put, Google had no obligation to produce the subsequently created documents

that the DOJ Plaintiffs requested, and it certainly was not required to search for potentially

responsive documents in the files of more than 60 custodians. When the DOJ Plaintiffs made that

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request two weeks ago, however, Google accepted it in the interest of moving forward as quickly

as possible, and Google is committed to doing just that. Nothing more is required, and the DOJ

Plaintiffs’ arguments to the contrary should be rejected.




Dated: October 26, 2021                        Respectfully submitted,

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